Case 1:94-cv-00892-JEC-LFG Document 29 Filed ‘oe Page 1 of 40

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO).

 
 

CARL WILSON, an individual, and mcenan pata
AUDREE WILSON, an individual, SOSFEB 24 PH O40

Plaintiffs,
v. No. CIV. 94+892 JC/LFG
HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corporation and
EUGENE LANDY, an individual,

Defendants.

SUGGESTION OF ADDITIONAL AUTHORITY

COMES NOW Defendant Harpercollins Publishers, Inc., by its
attorneys, Rodey, Dickason, Sloan, Akin & Robb, P.A., and Weil,
Gotshal & Manges, and shows the Court that on February 14, 1995,
the New Mexico Court of Appeals decided the case of Andrews v.
Stallings, No. 15,238 (N.M. Ct. App. Feb. 15, 1995), and suggests
that that opinion constitutes pertinent authority on the following
issues raised by the pending motion to dismiss for failure to state
a claim upon which relief can be granted: (1) specificity in
pleading claims for defamation, (slip op. at 9); (2) the
inapplicability of the defamation by implication doctrine as
applied to public officials and figures, (id.); and (3) the scope
of protection accorded opinion under New Mexico law, (id. at 11-
12). Because this opinion was decided after briefing on the motion
to dismiss was completed and has not yet been published in the New
Mexico State Bar Bulletin, defendant is attaching a copy as an

exhibit hereto.
Case 1:94-cv-00892-JEC-LFG Document 29 Filed “oe Page 2 of 40

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Attorneys for Defendant, HarperCollins
Publishers, Inc.

We hereby certify that a copy
of the foregoing was mailed to
counsel of record this
day of February, 1995.

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

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William S. Dixon

 
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(Case 1:94-cv-00892-JEC-LFG Document 29 Filed “oe Page 3 of 40

IN THE COURT OF APPEALS OF THE STATE OF NEW MEXICO

RONALD E. ANDREWS and CURT Q: 45

JILL ANDREWS, f TES $ D6

husband and wife, and ha
GOLDEN ASPEN RALLY, INC., ; F 3 -

a New Mexico corporation, eft 4 1995

Plaintiffs-Appellants, ““ a
NC Lex “ape
vs. No. 15,238

CHARLES STALLINGS,

a/k/a Chuck Stallings, and
FRANKIE JARRELL,

each individually and

as employees of

The Ruidoso News, and
RALJON PUBLISHING, INC.,
d/b/a The Ruidoso News,

a New Mexico corporation,

Defendants-~Appellees.

APPEAL FROM THE DISTRICT COURT OF LINCOLN COUNTY
Richard A. Parsons, District Judge

Charles W. Durrett
Charles W. Durrett, P.Cc.
Alamogordo, New Mexico Attorney for Plaintiffs-Appellants

William S. Dixon
Charles K. Purcell
Rodey, Dickason, Sloan,
Akin & Robb, P.A.
Albuquerque, New Mexico Attorneys for Defendants-Appellees

 

 

EXHIBIT

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OPINION
BLACK, Judge.

Ronald Andrews ("Andrews"), Jill Andrews, and Golden Aspen
Rally, Inc. ("the Corporation") filed suit against Raljon
Publishing, Inc., owner of the Ruidoso News, Frankie Jarrell
("Jarrell"), editor and general manager of the Ruidoso News,
and Charles Stallings ("Stallings"), a reporter for that
newspaper. Plaintiffs sued for defamation, intentional
infliction of emotional distress, invasion of privacy, and
prima facie tort. Plaintiffs’ claims are based upon a series
of articles, editorials, and statements that they allege
presented false accounts of public proceedings and drew unfair
inferences from Andrews’ actions as both a member of the
Ruidoso Village Council ("the Village Council") and promoter of
the Golden Aspen Motorcycle Rally ("the Motorcycle Rally").
After entertaining both briefs and oral argument, the district
court dismissed the complaint. We affirm.

I. DEFAMATION

Plaintiffs allege that beginning the second year Andrews
was on the Village Council, Defendants, “with reckless
disregard and malice, published false, unfair and inaccurate
accounts of public proceedings, more particularly with respect
to the meetings of the Ruidoso Village Council, which accounts
have contained repeated claims or innuendo of malfeasance of
office on the part of plaintiff, Ronald E. Andrews, all with
the intent to injure the good standing of said plaintiff."
Plaintiffs further allege that Defendants "negligently,

recklessly, and maliciously published defamatory statements

 
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relating to plaintiffs Jill Andrews and Golden Aspen Rally,
Inc., which statements were understood to be defamatory, but
which were false." Defendants’ allegedly defamatory statements
deal. generally with the authors’ opinions regarding the
operation of the Village of Ruidoso and the use of Andrews’—
elected governmental position to promote the Motorcycle Rally.

Initially, we consider the common law tort of defamation
and the limitations placed upon that tort by the First
Amendment, U.S. Constitution Amendment I. At common law, a
statement is considered defamatory "if it has a tendency to
render the party about whom it is published contemptible or
ridiculous in public estimation, or expose him to public hatred
or contempt, or hinder virtuous men from associating with him."
Bookout_v. Griffin, 97 N.M. 336, 339, 639 P.2d 1190, 1193
(1982). “A defamatory communication may consist of a statement
in the form of an opinion, but a statement of this nature is
actionable only if it implies the allegation of undisclosed
defamatory facts as the basis for the opinion." Restatement
(Second) of Torts § 566 (1976) {hereinafter Restatement); cf.
Marchiondo v. Brown, 98 N.M. 394, 404, 649 P.2a 462, 472 (1982)
(difference between fact and opinion depends on whether
ordinary person would understand words as expression of
speaker’s or writer’s opinion, or as statement of existing
fact).

In 1964, the United States Supreme Court held that the
First Amendment "prohibits a public official from recovering
damages for a defamatory falsehood relating to his official

conduct unless he proves that the statement was made with

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‘actual malice’--that is, with knowledge that it was false or
with reckless disregard of whether it was false or not." New
York Times Co. v. Sullivan, 376 U.S. 254, 279-80 (1964). The
Sullivan decision constitutionalized the common law tort of
defamation. "It set a single standard for libel suits by
public officials against the press in every court in the
nation." Robert D. Sack & Sandra S. Baron, Libel, Slander, and
Related Problems 7 (2d ed. 1994) [hereinafter Sack & Baron).

Sullivan and its progeny are based on the premise that
"Tijt is vital to our form of government that press and
citizens alike be free to discuss and, if they see fit, impugn
the motives of public officials." Janklow v. Newsweek, Inc.,
788 F.2d 1300, 1305 (8th Cir.) (en banc), cert. denied, 479
U.S. 883 (1986). Indeed, the right to criticize public
officials “lies near the core of the First Amendment."
Landmark Communications, Inc. v. Virginia, 435 U.S. 829, 838
(1978). Thus, at least since Sullivan, fiery political
dialogue, rhetoric, and public debate have been protected under
the First Amendment. See Mendoza v. Gallup Indep. Co., 107
N.M. 721, 725, 764 P.2d 492, 496 (Ct. App. 1988). Therefore,
the courts have been “particularly assiduous in using
protections given opinion by common and constitutional law as
tools to shelter strong, even outrageous, political speech."
Sack & Baron, supra, at 226.

"The actual malice requirement was thought to be
necessary, because if the makers of some inevitably false
statements about public officials (that is, statements made

without actual malice) were not insulated from defamation

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liability, then there would be substantial danger that the
first amendment rights of speakers would be unduly chilled."
Arlen W. Langvardt, Media Defendants, Public Concerns, and
Public Plaintiffs: Toward Fas ing Order from Confusion i
Defamation Law, 49 U. Pitt. L. Rev. 91, 96 (1987). The failure
to dismiss an unwarranted libel suit might necessitate long and
expensive trial proceedings that would have an undue chilling
effect on public discourse. See Time, Inc. v- McLaney, 406.
F.2d 565, 566 (5th Cir.), cert. denied, 395 U.S. 922 (1969);
Myers v. Plan Takoma, Inc., 472 A.2d 44, 50 (D.C. 1983) (per
curiam) (on issues of public importance where even nonmeri-
torius claim may stifle robust debate, motion to dismiss is
appropriate exercise for the court); see also State v. Powell,
114 N.M. 395, 398, 839 P.2d 139, 142 (Ct. App. 1992)
(recognizing chilling effect of criminal libel statute).
Therefore, “every defamation action governed by New York Times
Co. v. Sullivan contemplates a threshold, constitutional
inquiry by the court concerning whether the publication at
issue is reasonably capable of bearing a false, defamatory

meaning." C. Thomas Dienes & Lee Levine, Implied Libel,

Defamatory Meaning, and State of Mind: The Promise of New York

Times Co. v.- Sullivan, 78 Iowa L. Rev. 237, 281 (1993)
(hereinafter Dienes & Levine]; see, e.g., Chapin v. Greve, 787

F. Supp. 557, 562 (E.D. Va. 1992) (mem. op.) (threshold inquiry
is whether article is defamatory), aff’d sub nom. Chapin v.
Knight-Ridder, Inc., 993 F.2d 1087 (4th Cir. 1993); cf.
Marchiondo, 98 N.M. at 400, 649 P.2d at 468 (courts must

determine in the first instance whether alleged statement was

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ase 1:94-cv-00892-JEC-LFG Document 29 Filed 02/24/95 Page 8 of 40

constitutionally protected expression). Based on this
standard, the trial court should determine, at the earliest
possible stage, whether the plaintiff can establish that
statements regarding a public figure are (1) false; (2)
defamatory; and (3) evidence actual malice. See Dienes &
Levine, supra, at 281-83.

The Sullivan standard applies to Andrews as an elected
official. See Garrison v. Louisiana, 379 U.S. 64, 67 (1964).
Where public figures are involved in issues of public concern,
the Constitution contemplates a bias in favor of free speech.
This bias sometimes works to the detriment of the right of
public figures to obtain compensation for damage to their
reputations. See Buckley v. Littell, 539 F.2d 882, 889 (2d
Cir. 1976), cert. denied, 429 U.S. 1062 (1977).

It is within this legal framework that we measure
Plaintiffs’ allegations.

A. February 14, 199

Plaintiffs identify an article regarding the departure of
the city manager, Charles Norwood, as the opening salvo in
Defendants’ "pattern of malicious, reckless and bad faith
conduct, in both investigation and reporting, with the purpose
ana effect of defaming the good characters and reputations of
plaintiffs." The article rhetorically raises ten questions as
to why Norwood might have resigned. Plaintiffs specifically
target question seven, "Did you, Mr. Norwood, get tired of the
village’s appearance of impropriety by having the same people
serve on several boards where money switches hands." However,

because defamatory statements must be "concerning the

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1 plaintiff[,]" SCRA 1986, 13-1002(B)(3) (Repl. 1991), none of
9|| the Plaintiffs has a legal basis to complain about the question
3|| regarding the "village’s appearance of impropriety."
4 In Sullivan, the jury found that readers of a New York
5 Times advertisement could fairly infer that the accusations of
6|| misconduct made against the police actually defamed Sullivan as
7|| Commissioner of Public Affairs. The United States Supreme
g|j Court rejected this finding of the Alabama jury and the state
g|] appellate courts that affirmed it, saying:
10 There is no legal alchemy by which a State
may thus create the cause of action that
11 would otherwise be denied for a
publication which, as respondent himself
12 said of the advertisement, "reflects not
only on me but on the other Commissioners
13 and the community." Raising as it does
the possibility that a good-faith critic
14 of government will be penalized for his
criticism, the proposition relied on by
15 the Alabama courts strikes at the very
center of the constitutionally protected
16 area of free expression. We hold that
such a proposition may not  constitu-
17 tionally be utilized to establish that an
otherwise impersonal attack on
18 governmental operations was a libel of an
official responsible for those operations.
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Sullivan, 376 U.S. at 292 (footnote omitted); see also
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Rosenblatt v. Baer, 383 U.S. 75, 83 (1966) ("A theory that the
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column cast indiscriminate suspicion on the members of the
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group responsible for the conduct of this governmental
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operation is tantamount to a demand for recovery based on libel
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of government, and therefore is constitutionally
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insufficient.").
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This does not mean that the First Amendment should be read
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to automatically prohibit actions for group defamation, even if
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the group is composed of government officials. See Brady v.
Ottaway Newspapers, Inc., 445 N.¥.S.2d 786, 793 n.4 (App. Div.
1981). However, "(ijn a close case on the issue of whether
defamatory speech is ‘of and concerning’ an individual or the
government itself, it should be construed as of and concerning
the government." Rodney A. Smolla, Law of Defamation
§ 2.28[(3], at 2-99 (1994) {hereinafter Smolla]. Thus, when the
criticism can legitimately be interpreted as criticism of a
government entity, rather than a government official, the First
Amendment requires adoption of the former interpretation. Id.;
see Sack & Baron, supra, at 164-65; see also Laurence H. Tribe,

American Constitutional Law § 12-12, at 863 (2d ed. 1988)

 

("(Bjecause critical discussion of government ordinarily
involves attacks on individual officials as well as impersonal
criticisms of government policy, all defamation claims of
aggrieved public officials must be examined closely in order to
close what would otherwise be a back door to official
censorship."). The statement challenged by Andrews regarding
"the Village’s appearance of impropriety" is, on its face,
criticism of a government entity and therefore is not a proper
basis for a defamation claim by a government official. See
sa 9 s, 106 N.M. 530, 534, 746 P.2d 159, 163 (Ct.
App.) (impersonal criticism of government is not libel of
government official), cert. denied, 106 N.M. 511, 745 P.2d 1159
(1987); cf. Johnson v. Delta-Democrat Publishing Co., 531
So. 2d 811, 815 (Miss. 1988) (editorial focusing on city
council did not defame defendant individually).

Plaintiffs also complain about the statement: “And then

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there’s Councilor Andrews who helped approve the members on the
Lodgers Tax Committee and their budget, only to receive $3,000
from the same tax committee to help advertise his Golden Aspen
(motorcycle) Rally, a for-profit corporation." The complaint
alleges that this statement "implies malfeasance in office,
which is untrue and unjustified." Andrews does not allege,
however, that anything in the statement is untrue. These
allegations are insufficient. "Truth may not be the subject of
either civil or criminal sanctions where discussion of public
affairs is concerned." Garrison, 379 U.S. at 74. Thus, the
First Amendment requires that "a public-figure plaintiff must
show the falsity of the statements at issue in order to prevail
in a suit for defamation." Philadelphia Newspapers, Inc. v.
Hepps, 475 U.S. 767, 775 (1986). Since Plaintiffs do not claim
that the statements are untrue, the mere allegation that such
statements imply malfeasance is insufficient to support a claim
of defamation.

B. April 22, 1991

The Ruidoso News published an article by Stallings titled,
"LTC could be the goose that laid the golden egg for some."
Without specifying any particular statement, the complaint
alleges that the article “inaccurately states facts and
@eclares an inaccurate conflict of interest on the part of
Andrews in the performance of his official duties, and further
implies misrepresentation on the part of Ron Andrews,
individually, in the preparation of the financial statement for
plaintiff, Golden Aspen Rally, Inc.” |

Initially, we note that Defendants do not bear the burden

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Case 1:94-cv-00892-JEC-LFG Document 29 Filed 02/24/95 Page 12 of 40

to discern how this article has defamed Plaintiffs. Rather,
the latter "must plead precisely the statements about which
they complain." Royal Palace Homes, Inc. v. ¢ e , 495
N.W.2ad 392, 396 (Mich. Ct. App. 1992); see also Phantom
Touring, Inc. v. Affiliated Publications, 953 F.2d 724, 728 n.6
(1st Cir.) (because defendant is entitled to know precise

language challenged, plaintiff is limited to complaint in

defining scope of defamation), cert. denied, 112 S. Ct. 2942,

119 L. Ed. 2d 567 (1992); cf. Smolla, supra, § 12.05[5], at 12-
26.1 (defamation pleading requirements have "a tradition of
greater factual detail and specificity with regard to most
elements of the complaint than might otherwise be true in civil
actions"). Reading the April 22, 1991 article, there is no
statement which is so obviously defamatory as to require us to
reverse the judgment of the district court. See Bitsie v.
Walston, 85 N.M. 655, 659, 515 P.2d 659, 663 (Ct. App.) ("A
defamatory meaning will not be given to words unless such a
meaning is their plain and obvious import."), cert. denied, 85
N.M. 639, 515 P.2d 643 (1973).

Second, the factual statements are true and therefore the
"implication of misrepresentation" cannot constitutionally

serve as the predicate for a defamation complaint by a public

official regarding a matter of public concern. See Garrison,

379 U.S. at 74; see also Strada _v. Connecticut Newspapers,
Inc., 477 A.2d 1005, 1012 (Conn. 1984) ("The media would be

unduly burdened if, in addition to reporting facts about public
officers and public affairs correctly, it had to be vigilant

for any possibly defamatory implication arising from the report

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of those true facts.")

c. September 26, 199

The Ruidoso News published an editorial titled, “Law and
order took a vacation." Plaintiffs argue that the article is
untrue and "implies disloyalty and malfeasance" based on the
statement in the article that: "We don’t agree with Ruidoso’s
mayor and council and Ruidoso Downs’ mayor who say that the
problems {with the Motorcycle Rally) were no big deal."
Plaintiff’s challenge to this editorial contains at least two
infirmities.

First, we again note that this statement does not refer to
any Plaintiffs individually, but rather to the “mayor and
council." Therefore, this statement is insufficient to support
Plaintiffs’ claim of defamation against them personally.

Second, the statement was advanced in an editorial
context, which indicated that it was a forum for the expression
of opinion, not the recitation of fact. See generally Smolla,
supra, § 6.08({3)(c], at 6-28 to -34 (discussing "fact/opinion
problem"). Although confusion existed over whether opinion on
such public matters was constitutionally protected per se prior
to 1990, the United States Supreme Court addressed the problem
in Milkovich v. Lorain Journal Co., 497 U.S. 1 (1990). That
case involved a high school wrestling coach, Milkovich, who
brought a defamation action in state court against a local
newspaper based on a column that discussed an investigation of
an incident in which the coach was involved. The column

concluded:

Anyone who attended the meet, whether

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he be from Maple Heights, Mentor, or
impartial observer, knows in his heart
that Milkovich and Scott lied at the
hearing after each having given his solemn
oath to tell the truth.

But they got away with it.

Is that the kind of lesson we want
our young people learning from their high
school administrators and coaches?

I think not.

Id. at 7 n.2.

The Milkovich Court refused to recognize a per se "First
Amendment-based protection for defamatory statements which are
categorized as ‘opinion’ as opposed to ‘fact.’" Id. at 17.
However, the Court continued to recognize the truth requirement

of Hepps, 475 U.S. at 775, saying:

Foremost, we think Hepps stands for
the proposition that a statement on
matters of public concern must be provable
as false before there can be liability
under state defamation law, at least in
situations, like the present, where a
media defendant is involved. Thus, unlike
the statement, "In my opinion Mayor Jones
is a liar," the statement, "In my opinion
Mayor Jones shows his abysmal ignorance by
accepting the teachings of Marx and
Lenin," would not be actionable. Hepps
ensures that a statement of opinion
relating to matters of public concern
which does not contain a provably false
factual connotation will receive full
constitutional protection.

Milkovich, 497 U.S. at 19-20 (footnote omitted).

. Milkovich did not, then, eliminate constitutional
protection for political opinion, "(rjather, the Court chose to
articulate the constitutional rules in terms of the requirement
that state defamation actions be based upon statements of fact
provable as false." Smolla, supra, § 6.01[2), at 6-4.1 to 6-5.

Moreover, kov ‘gs reliance on Hepps furthered the

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requirement that it is the plaintiff who must allege and prove
the actual falsity of the statements, “when the plaintiff is a
public official or public figure, or when the statements are
matters of public concern published by a media defendant."
Moyer v. Amador Valley Joint Union High Sch. Dist., 275 Cal.
Rptr. 494, 497 n.2 (Ct. App. 1990); see Milkovich, 497 U.S. at
16. Thus, after Milkovich, "({o)pinion is not protected per se
by the Constitution, yet because opinion can be proved neither
true nor false and a plaintiff must prove falsity to succeed,
it remains nonactionable as a matter of constitutional law."
Sack & Baron, supra, at 213.
Whether or not problems with the Motorcycle Rally were a
"big deal" is not something Plaintiffs can prove to be false.
See Moyer, 275 Cal. Rptr. at 497 (terms "worst teacher" and
"babbler" not susceptible of being proved true or false).
Under Milkovich, therefore, the editorial statement challenged
by Plaintiffs is not actionable.
D. April 22, 1992
Plaintiffs’ complaint also alleges:
Stallings stated to others that the
Ruidoso Police had been told to refrain
from restricting the activities of the
motorcyclists, because it might
precipitate altercations, which might in
turn cause Ron Andrews’ (implying the
Golden Aspen Rally, Inc.) liability
insurance to increase, thereby implying a
malfeasance of office or undue influence
on the part of Counselor Ron Andrews, and
which statement was untrue.
Once again, even assuming that Stallings made the

described statement and that it was untrue, Plaintiffs were not

defamed. Initially, we note that Plaintiffs do not allege that

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Councilor Andrews or either of the other Plaintiffs told police
to refrain from restricting cyclists, so it is difficult to see
how any of them are defamed. See Ferguson v- Watkins, 448 So.
2d 271, 275 (Miss. 1984) (defamation must be clearly directed
toward plaintiff and "not be the product of innuendo,
speculation or conjecture").

Moreover, although Councilor Andrews might infer that
these statements implied misfeasance in office, such statements
disclose the factual basis for Stallings’ conclusion that the
risk of altercations might in turn cause Andrews’ liability
insurance to increase. Statements recognizable as opinion
because the factual premises are fully revealed are not a
proper predicate for a defamation claim. See Phantom Touring,
953 F.2d at 729-30; Mathias v. Carpenter, 587 A.2d 1, 3 (Pa.
Super. Ct. 1991), appeal] denied, 602 A.2d 860 (Pa. 1992). "A

simple expression of opinion based on disclosed or assumed
nondefamatory facts is not itself sufficient for an action of
defamation, no matter how unjustified and unreasonable the
opinion may be... ." Restatement, supra, § 566 cmt. c.

E. ril 30 99

The Ruidoso News published an article by Stallings titled,
"Councilor J.D. James lashes out at board’s power play." The
opening sentence captures the theme and sets the tone of the
article: "An angry Ruidoso Councilor J.D. James scolded Lodgers
Tax Advisory Board (LTAB) Chairman Jay Francis Tuesday for what
he perceived as a plan to unseat Convention Bureau Director
Kathleen Michelena." In the course of the article, however,

Stallings wrote:

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The plan to unseat Michelena has been

rumored around village hall for many
weeks.
The speculation is that Nancy

Radziewicz, a good friend of Councilor
Andrews, also a voting member of the
chamber, was the heir apparent for the
newly created job, which would duplicate
Michelena’s job.

Radziewicz and husband, Michael, are
long-time friends of Andrews. They sold
their West Winds Lodge to the councilor
and, according to a statement Andrews made
last year, they still carry his mortgage.

Plaintiffs’ complaint alleges that these statements were
"implying a use of office on the part of Ron Andrews for
personal financial protection or gain, which is untrue."
However, there is no fair inference that Andrews was doing
anything illegal or immoral, only "speculation" that a friend
of his might get a job with the convention visitor’s bureau.
Such a statement is insufficient to support a claim of
defamation by a public official. As the Supreme Court of
California pointed out when considering a similar claim:

The implication that [city council

members} were motivated by selfish

interest rather than the public good is

well within the bounds of protected

political debate. A statement regarding

(1) a public official’s business, social,

or political affiliations, and (2) how

those affiliations seem reflected in

decision-making hardly constitutes a

libelous charge of bribery and corruption.
okun_v. Superior Court, 629 P.2d 1369, 1374 (Cal.) (en banc)
(citation omitted), cert. denied, 454 U.S. 1099 (1981).
Moreover, any implication of impropriety is once again based on

disclosed facts, which allows readers to form their own

opinions and would therefore not even meet _common law

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1 defamation standards. Phantom Touring, 953 F.2d at 730-31; see
9 Restatement, supra, § 566 cmt. c.
3 The April 30, 1992 issue of the Ruidoso News also carried
4j] an article under the headline, “Quick thinking really pays
5 off." This article discusses how Lodgers Tax Advisory Board
6 Chairman Jay Francis called the previous year’s budget, “a run
7|{. away horse" and attempted to "recapture the spirit of LTC
8 funding with new addendums to the LTC resolution." The
9 complaint alleges that the “article states{:] ‘Francis had said
10|| that organizations like Councilor Ron Andrews’ Golden Aspen
11 Motorcycle Rally should not receive lodgers tax money’, which
12|} statement is untrue, and the article further inaccurately and
13 unfairly states what occurred at the Village Council meeting,
14 implying malfeasance in office on the part of Councilor Ron
15 Andrews."
16 This allegation is, at the least, ambiguous. Are
17 Plaintiffs alleging that Francis did not say the Rally should
18}} not receive lodgers tax money or that it is untrue that the
19}| Rally should not receive such funding? Defendants are not
90|| obligated to guess how this statement is untrue, how the
91|| article "inaccurately and unfairly states what occurred at the
99|| Village Council meeting," or how it was "implying malfeasance
93|| in office on the part of Councilor Ron Andrews." Our courts
94|| will not strain to find defamation. See Bitsie, 85 N.M. at
25 659, 515 P.2d at 663.
26 F. May 11, 1992
27 The Ruidoso News published an editorial captioned, “What
98] happened?" The editorial begins: "Ruidoso’s Village Council is
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battling the budget, conducting hearings to form next year’s
financial plan and chip away at what Mayor Victor Alonso said
is an $800,000 deficit." The editorial also asks: "(W)hat have
these guys been doing while the deficit creeped up near the
million dollar mark?" Plaintiffs claim these statements imply
"that the council had allowed or approved a budget which
resulted in an $800,000 deficit, which is untrue, as opposed to
balancing the budget, . thereby implying a failure or
misrepresentation in the performance of official duties."
Contrary to Plaintiffs’ assertions, no such implication is
required and such statements are not defamatory in the context
of discussing the expenditure of public funds by public
officials. See, e.q., Kotlikoff v. Community News, 444 A.2d
1086, 1091-92 (N.J. 1982) (letter to the editor speculating
that plaintiff mayor and city tax collector could be "engaged
in a huge coverup" is protected opinion). And, once again, the
statements about which Plaintiffs complain relate to actions
allegedly taken by the government, i.e., the Village Council

and the Mayor, not the Plaintiffs personally.

G. June 22, 1992
An article by Stallings titled, “Councilor Ron Andrews

lines out area law officers" and another captioned, "Councilor
misuses his office" appeared in the June 22, 1992 edition of
the Ruidoso News. Plaintiffs allege that these articles
"misrepresent what occurred at a Village Council meeting,
misquote statements made by Andrews, and further inaccurately
indicate that the council inadequately budgeted for and funded

law enforcement." Once again, Plaintiffs’ failure to specify

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in what particular way these statements were untrue justifies
the district court’s dismissal.

The June 22, 1992 edition of the Ruidoso News also carried
a sketch of the new Civic Events Center with the caption:

Councilor Ron Andrews’ Golden Aspen
Motorcycle Rally literature promotes that
Ruidoso is building the rally a new hone,
which also happens to be the new Civic
Events Center. The literature also claims
that the rally is an official Aspenfest
event of the Ruidoso Valley Chamber of
Commerce. Chamber Officials disagree.

Plaintiffs’ complaint alleges: "The statement that the
rally is not an official Aspenfest event is untrue, and implies
misrepresentation on the part of Ron Andrews, in both his
official and individual capacities, as well as on the part of
Golden Aspen Rally, Inc." A statement is not, however,
necessarily defamatory merely because it is untrue. See Mead
v. True Citizen, Inc., 417 S.E.2d 16, 17 (Ga. Ct. App. 1992).
In order to be defamatory, a statement must render the subject
"contemptible or ridiculous in public estimation, or expose him
to public hatred or contempt." Bookout, 97 N.M. at 339, 639
P.2a at 1193. Even if chamber officials disagree over whether
the Motorcycle Rally is "an official Aspenfest event," neither
Andrews nor the Corporation are defamed by such a disagreement.

This allegation of defamation also appears to be the only
claim advanced by the Corporation. While a corporation has the
right to bring a claim of defamation, "(wjhether a corpora-
tion’s standing in the community was actually diminished is not

relevant if the publication at issue did not falsely charge the

corporation itself with some kind of impropriety ... ."

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Church of Scientology v. Flynn, 578 F. Supp. 266, 268 (D. Mass.

1984). Therefore, this statement is insufficient to support a
claim of defamation by either Andrews or the Corporation.

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The Ruidoso News published an article by Stallings titled,
"Taxpayers will pick up tab for rally security." Plaintiffs’
complaint challenges this article, arguing that:

[The] article inaccurately implies special
treatment for the Golden Aspen Motorcycle
Rally, in the security plan for it, as
compared with other Village events, and
further indicates malfeasance in office by
"Rally owner and Village Councilor, Ron
Andrews", in that he “at no point in the
discussion declared a_ conflict of
interest, he voted twice", where in fact
there was no conflict of interest, and his
voting was lawful and appropriate. The
article contains other inaccurate
statements and innuendos with regard to
security for and the cost of the rally.

Merely alleging that the article "implies special
treatment for the Golden Aspen Motorcycle Rally" or contains
"innuendos with regard to security for and the cost of the
rally" is legally insufficient to support a claim of defamation
when the matters under discussion are of public interest and
involve the expenditure of public funds. The complaint does
not allege any of the statements are untrue. See Garrison, 379
U.S. at 74. Further, as previously discussed, whether Andrews
had a conflict of interest is “actionable only if it implies
the allegation of undisclosed defamatory facts as the basis for
the opinion." Restatement, supra, § 566.

I. July 16, 1992

Stallings wrote an article titled, "“Where’s Batman when

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Se 1:94-cv-00892-JEC-LFG Document 29 Filed 02/24/95 Page 22 of 40

you need him?" Plaintiffs again complain that a statement in
the article is misleading and inaccurate, and implies
malfeasance in office. The statement at issue reads: "In the
case of the indispensable motorcycle rally, we both spend and
save. The trick is to be sure Andrews gets enough taxpayers’
money for his private venture to add to an already handsome
profit... ."

Along with the article’s title and its appearance on the
editorial page, the use of terms such as "indispensable,"
"trick," and "handsome" indicate that this is not a factual
statement which can be proven false. See Hepps, 475 U.S. at
775; cf. Miskovsky v. Oklahoma Publishing Co., 654 P.2d 587,
594 (Okla.) (editorial stating that candidate "sunk to a new
low" and his words were "despicable and stupid" insufficient to
support defamation claim), cert denied, 459 U.S. 923 (1982).

J. August 10, 1992

Plaintiffs challenge a statement in an editorial titled,
"Looking forward to civic center opening." The editorial
focuses on the initial question: "Who can speak ‘officially’
for the Village of Ruidoso?" In the course of discussing
various statements as to when the convention center would open,

the editorial states:

Wicker recalled that this isn’t the
first time misinformation has been
disseminated about the village’s new civic
events center. A couple of months ago,
Councilor Ron Andrews printed in his
motorcycle rally brochure that the village
had built the center specifically as a
home for his event. Apparently that
statement was made without being cleared
through the Convention and Visitors
Bureau, the village manager or the

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council.

Plaintiffs’ complaint alleges that "(sJuch statements are
untrue, and are misleading, and imply that Ron Andrews has
misused his official position." Once again, a fair reading of
the statements do not require such an implication, and the
complaint fails to state a constitutionally permissible cause

of action.

K. August 17, 1992
On this date, Frankie Jarrell wrote a piece titled, "The

truth shall set you free... .” The article begins with a
quote from songwriter Bob Dylan, then states: “Funny thing how
some people are dying to get their names in the paper while
others would give anything to slink off into anonymity. Take
politicians, for example." Plaintiffs complain about the

following:

Al Junge wondered the other day what
we would write about if we didn’t have
Councilor Ron Andrews.

So, Al, what’s your point?

How many village councilors ask for
and get tax money to promote their own
enterprise? We can think of just one.

How many councilors helped draft a
"special events policy" designed for their
own rowdy event? We can think of only
one.

How many councilors don’t bother to
declare a conflict when issues involving
their business come up for debate and
vote-~issues like auditing lodgers? We
know of one who just happens to be a
lodger, and instead of declaring a
conflict, participated in the debate and
voted against audits, saying he wouldn’t
vote to have himself audited.

How many councilors have gone before
the council asking for an amendment to an
ordinance affecting land they just
purchased? One that we can think of.

How many councilors, when they

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finally declare a conflict, continue to
participate in discussions over their
request, and even advise the council how
to proceed? Just one.

And, how many Ruidoso councilors have
ever threatened to sue the council/
village/themselves? We know of two on
this council.

We don’t make the news; we just print

it.

Plaintiffs’ complaint alleges that the foregoing
"inaccurately and unfairly states or represents the events as
they actually occurred, and imply impropriety or malfeasance in
office on the part of Ron Andrews." Once again, however,
Plaintiffs do not challenge the truth of the factual statements
but merely the "implication" of impropriety and malfeasance.
Thus, Plaintiffs do not state a claim that can withstand First
Amendment scrutiny.

L. September 3, 1992

Stallings wrote an article titled, "Questions remain over
motorcycle rally rules." The article begins:

Ruidoso residents may have’ the
impression that something happened about

controlling unruly bikers this year, but
not much happened.

Although residents called for the
Ruidoso Village Council to institute
protections against the violence and
destruction that erupted during last
year’s Golden Aspen Motorcycle Rally, the
owner of the event won’t have to do things
much differently this year.

The majority of the article reiterates the alleged
conflict of interest between Andrews acting both as an owner of
the event and as a Village Councilor who supervises the Lodgers
Tax Committee and the police department. Among other

statements challenged by Plaintiffs are the following:

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According to state statutes, no
elected municipal officer during his
elected term shall acquire a financial
interest in any new or existing business
venture or business property of any kind
when such officer believes or has reason
to believe that the new financial interest
will be directly affected by his official
act.

Violation of the provisions of that
statute is grounds for removal or
suspension from office.

State statutes also contain a
conflict clause that requires an elected
official to disclose any conflict of
interest to other members before a related
vote and to have that conflict recorded in
the official minutes.

Andrews appears to have ignored that
provision on several occasions such as his
votes on lodgers tax allocations that
included his own business, and when he
vocally opposed any bond requirement or
contribution toward police protection from
owners of events impacting the village.

The article clearly discloses the factual basis for the
conclusion that Andrews apparently ignored the state statute.
Thus, these statements are not actionable. See Restatement,
supra, § 566; cf. Long v. Egnor, 346 S.E.2d 778, 787-88 (W. Va.
1986) (assertion that some threatened action will violate the
law is nondefamatory).

M. Conclusio

For the reasons discussed above, all of Andrews’
defamation claims fail. In addition, the Corporation’s one
claim of defamation, which is based on the June 22, 1992
article, also fails. Finally, we note that we were unable to
find any specific allegation that any of the articles defamed
Jill Andrews. Since defamation is personal, a plaintiff has no

cause of action for the defamation of his or her spouse. See
Gugliuzza_v. K.C.M.C., Inc., 606 So. 2d 790, 791-92 (La. 1992).

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The district court was correct in dismissing Plaintiffs’
defamation claims. See 5A Charles A. Wright & Arthur R.
Miller, Federal Practice and Procedure § 1357, at 359 (1990)
("When the claim alleged is a traditionally disfavored ‘cause
of action,’ such as malicious prosecution, libel, or slander,
the courts tend to construe the complaint by a somewhat
stricter standard and are more inclined to grant a Rule
12(b) (6) motion to dismiss.").

II. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

In recent years, public figures increasingly have
attempted to use the intentional infliction of emotional
distress claim "to make an end-run around the obstacles posed
by defamation law’s harm to reputation element and its
constitutional aspects." Arlen W. Langvardt, Stopping the End-
Run by Public Plaintiffs: Falwell _and the Refortification of
Defamation Law’s Constitutional Aspects, 26 Am. Bus. L.J. 665,
666 (1989) (footnote omitted) {hereinafter Stopping the End-
Run). In Hustler Magazine, Inc. v. Falwell, 485 U.S. 46
(1988), the Supreme Court "drastically limited, if not
eliminated, public officials’ and public figures’ ability to
employ the emotional distress option to evade the obstacles
imposed by defamation law." Stopping the End-Run, supra, at
668.

Mere insults, especially in the context of a political
dispute, do not exceed the bounds of decency. See Koch v.
Goldway, 817 F.2d 507, 510 (9th Cir. 1987). Therefore, "({tjhe
stringent requirements for stating a cause of action render the

tort’s usefulness as a weapon against pure expression,

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particularly by the media, rare." Sack & Baron, supra, at 678
(footnotes omitted); see, e.g., Conroy v- Kilzer, 789 F. Supp.
1457, 1467-68 (D. Minn. 1992) (newspaper article disclosing
that fire chief had interests in bars destroyed by possible
arson insufficient to support claim).

To recover for the intentional infliction of emotional
distress a plaintiff must show that the defendant’s conduct was
extreme and outrageous, and was done recklessly or with the
intent to cause severe emotional distress. Mantz v.

Follingstad, 84 N.M. 473, 480, 505 P.2d 68, 75 (Ct. App. 1972),
overruled on other grounds by Peralta v. Martinez, 90 N.M. 391,

392, 564 P.2d 194, 195 (Ct. App. 1977). Extreme and outrageous

 

conduct is “beyond all possible bounds of decency, and to be
regarded as atrocious, and utterly intolerable in a civilized
community." Id, (quoting Restatement (Second) of Torts § 46
(1965)); see generally X.E. "Javier" Acosta, The Tort of
"Outrageous Conduct" in New Mexico: Intentional Infliction of
Emotional Harm Without Physical Injury, 19 N.M. L. Rev. 425

(1989) (discussing history and application of tort of

 

outrageous conduct).

Plaintiffs claim intentional infliction of emotional
distress arising from four specific instances.

First, Plaintiffs allege that Stallings requested and
received from Andrews copies of the Corporation’s 1990 tax
return. Plaintiffs allege that Stallings then gave information
about Plaintiffs to the IRS. As a consequence of Stallings’
"report" Plaintiffs claim that the IRS scheduled an audit of

both Andrews personally and the Corporation. Plaintiffs allege

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that these audits were time-consuming, costly, and stressful.
We cannot, however, consider it "atrocious" that Stallings
contacted the IRS to report his suspicions regarding
Plaintiffs’ income tax filings. Whatever Stallings’
motivations, the law encourages citizens to report any
suspected violation of the tax laws to the IRS. See Barker Vv.
Lein, 366 F.2d 757, 758 (1st Cir. 1966) (per curiam); see also
26 U.S.C. § 7623 (1988) (authorizing payment of fees to such
informants). Furthermore, we have not reached the point where
a lawful attempt to assist law enforcement agents is considered
odious. See Saunders v. Board of Directors, WHYY-TV, 382 A.2a
257 (Del. Super. Ct. 1978). Therefore, such actions are not
"beyond all possible bounds of decency."

Second, Plaintiffs allege that “defendants, and more
particularly Chuck Stallings, have repeatedly attempted to
interfere with or prevent the 1992 Golden Aspen Rally
convention, by making [sic] and reporting that the insurance
coverage therefore was totally inadequate for the event."
Plaintiffs allege that Defendants accomplished this by making
"reports" to the New Mexico Department of Insurance as well as
"to public officials and local citizens of the Village of
Ruidoso, and to the Naughton Insurance Company," which had
previously insured the Motorcycle Rally. It was not, however,
"beyond all possible bounds of decency" for Stallings to
contact the New Mexico Department of Insurance or Plaintiffs’
insurance carrier while attempting to determine if the coverage

was adequate. Cf. Freihofer v. Hearst Corp., 480 N.E.2d 349,
354-55 (N.Y. 1985) (publication of confidential, but lawfully

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obtained, matrimonial court files is not outrageous).

Third, Plaintiffs claim that Stallings wrote and published
an article on July 9, 1992, which reported that "high density
development has been proposed for prime property across from
White Mountain Meadows[{.]" This property had been purchased by
Andrews and his wife. Plaintiffs allege that the article
"resulted in a protest by an adjacent land owner, who then
accused the Village Council of impropriety, and thereby caused
repeated confusion and delay in the lawful and appropriate
lifting of a village ordinance as to such land, and resulted in
a cloud on the title to the property and Ron Andrews’ and Jill
Andrews’ inability to negotiate or complete the sales of two
parcels within that property." A zoning request to a public
board is, however, newsworthy. ee Walters v. Linhof, 559 F.
Supp. 1231, 1237 (D. Colo. 1983) (mem. op.). Thus, coverage of
such an event cannot be considered “utterly intolerable," as
Plaintiffs claim.

Fourth, the August 13, 1992 edition of the Ruidoso News
carried an article by Stallings captioned, “Councilor Ron
Andrews threatens to sue village." In this article Stallings
wrote:

Andrews failed in his bid at the
council meeting Tuesday to delete a 1983
provision tied to his five-acre tract that
limits lot size to no less than one acre.

However, he said he intends’ to
proceed with plans even if the final
determination has to be brought before the
courts.

That would have councilor Andrews
suing the village he represents, which

could be a bad political move if he
intends to run for office in the future.

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As a general proposition, accurate publication of
newsworthy events does not give rise to a cause of action for
intentional infliction of emotional distress. See McNamara v.
Freedom Newspapers, Inc., 802 S.W.2d 901, 905 (Tex. Ct. App.),
writ denied (June 12, 1991). More importantly, even if
Andrews’ statements were not intended as a threat, reporting
his actual statements and concluding that the statements
constituted a threat to sue the Village could hardly be "beyond
all possible bounds of decency" and "utterly intolerable ina
civilized community." See, e.g., Koch v. Goldway, 607 F. Supp.
223, 226 (C.D. Cal. 1984) (rhetorical hyperbole in political
dispute does not exceed bounds of decency), aff’d, 817 F.2d 507
(9th Cir. 1987).

The district court was correct in dismissing Plaintiffs’
claim of intentional infliction of emotional distress.

III. INVASION OF PRIVACY

New Mexico recognizes the tort of invasion of privacy.

McNutt v. New Mexico State Tribune Co., 88 N.M. 162, 165, 538

 

P.2d 804, 807 (Ct. App.), cert. denied, 88 N.M. 318, 540 P.2d
248 (1975). The tort is generally broken down into four
categories: false light, intrusion, publication of private
facts, and appropriation. See Moore v. Sun Publishing Corp.,
118 N.M. 375, 383, 881 P.2d 735, 743 (Ct. App.), cert. denied,
__ ON.M. ___, +882 P.2d 21 (1994). Plaintiffs’ claim that
Defendants placed them in a “false light."

"False light" invasion of privacy is "a close cousin of

defamation." Smolla, supra, § 10.01{2}, at 10-3. In the

absence of proof of a specific false statement of fact,

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Se 1:94-cv-00892-JEC-LFG Document 29 Filed 02/24/95 Page 31 of 40

"tujnfairness, improper tone, or unfounded implication or
innuendo, even though they might sound as though they fit the
phrase ‘false light,’ will no sooner support a recovery for
false-light invasion of privacy than for defamation." Sack &
Baron, supra, at 565. Thus, public figures involved in matters
of public concern must hurdle the same constitutionally-based
limitations on false light recovery as apply to defamation
claims. See Neish v. Beaver Newspapers, Inc., 581 A.2da 619,
624-25 (Pa. Super. Ct. 1990), appeal denied, 593 A.2d 421 (Pa.
1991); see also Hardge-Harris v. Pleban, 741 F. Supp. 764, 776
(E.D. Mo. 1990) (discussing relationship between false light

and defamation), aff'd, 938 F.2d 185 (8th Cir. 1991). "{TJhe

 

right of privacy is [therefore] generally inferior and
subordinate to the dissemination of news." Blount v. T D
Publishing Corp., 77 N.M. 384, 389, 423 P.2d 421, 424 (1966).

While we are not willing to accept Defendants’ invitation
to abolish this version of the tort, Professor Kelso’s
observation that, "{i]n the overwhelming majority of cases,
false light is simply added on at the end of the complaint to
give the complaint the appearance of greater weight and
importance[,]" appears to be apropos in the present case. J.
Clark Kelso, False Light Privacy: A Requiem, 32 Santa Clara L.
Rev. 783, 785 (1992). The body of Plaintiffs’ complaint does
almost nothing to elucidate this claim. Although the claim
appears to be by all Plaintiffs, only individuals, not
corporations, have a right to seek recovery for invasion of

privacy. See Clinton Community Hosp. Corp. v. Southern Md.
Medical Ctr., 374 F. Supp. 450, 456 (D. Md. 1974), aff'd, 510

 

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F.2d 1037 (4th Cir.), cert, denied, 422 U.S. 1048 (1975).
Therefore, the district court properly dismissed any such claim
asserted by the Corporation.

Once again, as we did when discussing Plaintiffs’ related
defamation claims, we must note that Defendants do not bear the
burden to discern how they have defamed Plaintiffs or placed
them in a false light. Our review of the complaint discloses
no obvious basis for a legally cognizable claim of false light
invasion of privacy. Because the tort requires "publicity,"
the report to the IRS and investigation of or reports regarding
Plaintiffs’ insurance do not qualify. See, e.g., Hardge-
Harris, 741 F. Supp. at 776 (reporting suspicion of wrongdoing
to appropriate authorities not a basis for false light invasion
of privacy claim). With regard to the media coverage of
Plaintiffs’ planned property development and the report of
Andrews’ potential suit against the Village, these are matters
of public concern and, absent the showing required by New York
Times Co. v. Sullivan, cannot be attacked under the false light
rubric.

The district court was correct in dismissing Plaintiffs’
invasion of privacy clain.

IV. RI FACI ‘OR!

New Mexico first recognized a cause of action for prima

facie tort in Schmitz v. Smentowski, 109 N.M. 386, 394, 785

 

 

P.2d 726, 734 (1990). The elements of prima facie tort are:
(1) defendant's lawful but intentional act; (2) defendant’s
intent to injure the plaintiff; (3) injury to the plaintiff;

and (4) no justification for defendant’s acts. Id. at 394, 785

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1 P.2d at 734. The purpose of this newly recognized tort is "to
9 provide remedy for intentionally committed acts that do not fit
3|| within the contours of accepted torts(.J]" Id. at 396, 785 P.2d
4 at 736. Thus, “prima facie tort should not be used to evade
5|| stringent requirements of other established doctrines of law."
gj] Id. at 398, 785 P.2a at 738; accord Yeitrakis v. Schering-
7 Plough Corp., 804 F. Supp. 238, 249 (D.N.M. 1992) ("Prima facie
gj] tort should not be permitted to duplicate, or remedy a defect
9 in, another established cause of action.").

10 "Attempts to use a prima facie tort theory to overcome
11 obstacles to suits for defamation or injurious falsehood have
12|| typically failed." Sack & Baron, supra, at 673-74. Thus, it
13 also does not make sense to allow recovery under this new label
14 for expressions that are protected against defamation claims.
15 ational Nutritional Foods _Ass‘’n_v elan, 492 F. Supp.
16 374, 384 (S.D.N.¥. 1980); see also James P. Bieg, Prima Facie
17|| Tort Comes to New Mexico: A Summary of Prima Facie Tort Law, 21
18 N.M. L. Rev. 327, 369 (1991) ("[I]t would be incongruous to
19|| allow prima facie tort to eliminate a requirement or
20 restrictive feature of a traditional tort, such as defamation,
91|| which expresses an important public policy-~freedom of
92|| speech."). In the present case it is clear that prima facie
93|| tort is being asserted merely to circumvent the established
24\| defenses to defamation.

25 Plaintiffs allege that Stallings provided information he
96|| had received from Plaintiffs regarding the Corporation’s tax
97|| filings to the IRS, which led to an IRS audit. The law,
28|| however, does not support recovery in prima facie tort for

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ASe 1:94-cv-00892-JEC-LFG Document 29 Filed 02/24/95 Page 34 of 40

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Defendants’ alleged reports to either the IRS or the New Mexico
Department of Insurance. See, e.g., Quigley v. Hawthorne
Lumber Co., 264 F. Supp. 214, 219 (S.D.N.¥. 1967) (allegations
that defendants furnished false reports leading to plaintiff's
wrongful arrest insufficient to support prima facie tort
claim).

With respect to Plaintiffs’ complaint regarding
Defendants’ coverage of Andrews’ statements as a Village
Councilor and the "high density" development, such coverage
cannot be said to be “without justification." It is the role
of a newspaper to report newsworthy events.

The district court was correct in dismissing Plaintiffs’
claim of prima facie tort. See Nazeri_v. Missouri Valley
College, 860 S.W.2d 303, 316 n.9 (Mo. 1993) (en banc) (although
prima facie tort claim is normally not discarded until clain is
submitted on another ground, it may be dismissed at pleading
stage when claim is clearly being asserted merely to circumvent
established law).

Vv. CONCLUSION

Defendants’ allegedly defamatory statements against
Andrews are all either protected opinion under the common law
or are within the boundaries of First Amendment protection.
Furthermore, we do not find any statements that could
legitimately be read as defamatory of either the Corporation or
Jill Andrews. Defendants’ reports to public authorities
regarding their concerns over Plaintiffs’ taxes and insurance
coverage are insufficient to support claims of intentional

infliction of emotional distress, false light invasion of

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ase 1:94-cv-00892-JEC-LFG Document 29 Filed 02/24/95 Page 35 of 40

privacy, or prima facie tort.

We affirm the dismissal of Plaintiffs’ complaint.

Ny D. ele Judge

IT IS SO ORDERED.

I CONCUR:

 

HARRIS L HARTZ, Judge (specially concurring)

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HARTZ, Judge (Specially Concurring).
I concur in the result. I join in Sections I, III, and IV of Judge

Black's thorough and thoughtful opinion. I also join in much of Section I.
In particular, I agree that a complaint alleging defamation against a public
official must be precise regarding (1) what statement in a newspaper article
or editorial is false and (2) in what respect the statement is false. As I
read the complaint, the alleged problem with the articles and editorials is
that they suggested that what happened constituted misconduct by Andrews. But
the complaint does not adequately allege that the newspaper either (1) falsely
reported what happened or (2) expressed opinions implying the allegation of
undisclosed defamatory facts. See Restatement (Second) of Torts § 566 (1976).

Although I agree with the result, I differ with the opinion in one
respect. ‘The opinion gives too little weight to context in determining whether
a statement is "of and concerning" an individual.

An individual can sue for defamation only if the allegedly defamatory
statement is “of and concerning" the individual. See New York Times Co. v.
Sullivan, 376 U.S. 254, 288 (1964). The majority opinion appears to hold that
an allegedly libelous statement cannot be "of and concerning" a public official
if the statement names only “the village," "the Council," or same other public
body, regardless of the nature of the statement or whether the context of the
publication establishes that the statement is focused on a particular
individual. The majority opinion states: “(W)hen the criticism can
legitimately be interpreted as criticism of a government entity, rather than
a government official, the First Amendment requires adoption of the former
interpretation." Majority Op., _.-sSsN.M. at, | P.2d at ws (Slip op.
at 7]

Such a requirement is unnecessary to protect the First Amendment values
espoused by the United States Supreme Court and is not required by Supreme

 
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Court precedent. Although there may be sound reasons to abolish defamation
actions by public officials, "the knowingly false statement and the false
statement made with reckless disregard of the truth, do not enjoy
Constitutional protection." Garrison v. Louisiana, 379 U.S. 64, 75 (1964).
"(T}he use of the known lie as a tool is at once at odds with the premises of
democratic government and with the orderly manner in which economic, social,
or political change is to be effected." Id. Given this appraisal by the
Supreme Court of false defamatory statements made with actual malice, it would
be surprising if the Court cloaked such a statement with immmity just because
only by title rather than by proper name.

Indeed, the two Supreme Court decisions that address the "of and

concerning" requirement—-Rosenblatt v. Baer, 383 U.S. 75 (1966) and Sullivan—

 

suggest that it is the substance of the criticism (does it focus on government
operations or on the individual office holder?) rather than the form (is the
individual identified by official title or by proper name?) that matters.

Rosenblatt summarized the Supreme Court's position as follows: "[{I]n the
absence of sufficient evidence that the attack focused on the plaintiff, an
otherwise impersonal attack on governmental operations cannot be utilized to
establish a libel of those administering the operations." 383 U.S. at 80. ‘The
Court was not immmizing all attacks that name only governmental bodies. For
example, the Court wrote: "Were the statement at issue in this case an
explicit charge that the Commissioners and Baer or the entire Area management
were corrupt, we assume without deciding that any member of the identified
group might recover." Id. at 81.

More importantly, the Supreme Court has made clear that an individual my
recover for an accusation naming a public entity if surrounding circamstances
establish that the attack was directed at the individual. After all, the

 

 

 
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statement in Rosenblatt that impersonal attacks are immme from liability is
prefaced by the qualification: "in the absence of sufficient evidence that the
attack focused on the plaintiff." ‘Thus, Rosenblatt states, "Even if a charge
and reference were merely implicit, as is alleged here, but a plaintiff could
show by extrinsic proofs that the statement referred to him, it would be no
defense to a suit by one member of an identifiable group engaged in
governmental activity that another was also attacked." Id. at 81-82.

In Rosenblatt one of the Court's two holdings was that the trial cot
had erred by permitting the jury "to infer both defamatory content and
reference from the challenged statement itself, although the statement on its
face is only an impersonal discussion of government activity." 383 U.S. at 82.
The article at issue did not mention the plaintiff. If the Supreme Court had
adopted the view of the panel majority that a statement is privileged if it
"can legitimately be interpreted as criticism of a govermment entity," then the
fact that "the statement on its face is only an impersonal discussion of
goverrment activity" should have disposed of the entire Rosenblatt litigation,
because a "legitimate interpretation" of the article is that the plaintiff was
not being criticized personally. But the Rosenblatt opinion implicitly rejects
this view by going on to discuss the plaintiff's "second theory, supported by
testimony of several witnesses, .. . that the colum was read as referring
specifically to him[.]" Id. at 83. (The Court then disposed of this theory
by holding that “[e]ven accepting [plaintiff's] reading," id., the verdict mst
be set aside because the plaintiff may have been a public official yet the jury
was not instructed that it must find actual malice. Id. at 83-88.)

Sullivan is consistent with Rosenblatt. In Sullivan the Supreme Court
was reviewing a jury verdict. The Court's conclusion that the newspaper
advertisement criticizing the police was not "of and concerning" Sullivan, the
police commissioner, did not rest exclusively on the language of the

 

 

 
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advertisement, which failed to mention Sullivan by name or official position.
The Court wrote: "Although the statements may be taken as referring to the
police, they did not an their face make even an oblique reference to (Sullivan)
as an individual. Support for the asserted reference must, therefore, be
sought in the testimony of [Sullivan's] witnesses." Id, at 289. The Cort
then proceeded to review that testimony. Id. Such a review would have been
totally unnecessary if the Court had adopted the view that the statement is
immme fran liability if it can be "legitimately interpreted" as not referring
to Sullivan personally. ‘The Court would simply have stated that Sullivan had
no cause of action because the advertisement could legitimately be interpreted
as criticism of the police department rather than as criticism of Sullivan
himself.

The panel majority's approach is similar to that of the district cort
opinion reviewed in Saenz _v. Playboy Enterprises, 841 F.2d 1309 (7th Cir.
1988), aff'g 653 F. Supp. 552 (N.D. Il. 1987). ‘The appellate court summarized
the district court's view as being "that a public official may never establish
defamation by innuendo where such inferences mist be drawn from allegedly
defamatory statements which also render a critical assessment of governmental
conduct." Id, at 1314. ‘That view was rejected on appeal. After analyzing
Sullivan and Rosenblatt, the Seventh Circuit concluded that the Supreme Court
had “recognized that a public official could mke out a claim where the
allegedly defamatory charges were merely implicit, provided the official
demonstrates that the accusations were made of and concerning him." Id. at
1316. Based on this authority, I do not believe that we can properly dismiss
allegations in the complaint on the ground that they were not "of and
concerning" Andrews just because the alleged defamatory statement does not
mention Andrews by name, particularly when Andrews is mentioned by name later
in the same article or editorial, or even in the same paragraph.

 
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I am sympathetic to the panel majority's effort to foreclose any civil
action that smacks of a claim for seditious libel. But Sullivan and its
progeny have already constructed a mighty fortress against such claims. "A
vast difference exists between a govermment's effort to punish speech critical
of official policy or acts, where even truth was no defense, and an official's
effort to clear his name of an allegation that he acted contrary to official
policy and human decency, in a situation in which he must. prove both falsity

and actual malice." Sharon v. Time, Inc., 599 F. Supp. 538, 555 (S.D.N.Y.

 

1984). In short, the panel majority has engaged in well-intended overkill.

HARRIS L HARTZ, Judge 7

 

 

 
